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                                                 STATES BANKRUPTCY   COURT
                                            NORTHERN DISTRICT OF ILLINOIS



       In re: PROCTOR, TOYYA                                  §    Case No. 15-04990
                                                              §
                                                              §
                                                              §
                    Debtor(s)


                                CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                                REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                                ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)




              Richard M. Fogel, chapter 7 trustee, submits this Final Account, Certification that the Estate has been
      Fully Administered and Application to be Discharged.

               1) All funds on hand have been distributed in accordance with the Trustee’s Final Report and, if
      applicable, any order of the Court modifying the Final Report. The case is fully administered and all assets and
      funds which have come under the trustee’s control in this case have been properly accounted for as provided
      by law. The trustee hereby requests to be discharged from further duties as a trustee.

               2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims discharged
      without payment, and expenses of administration is provided below:



      Assets Abandoned:    $492,407.00                            Assets Exempt:      $5,013.00
      (without deducting any secured claims)

      Total Distributions to Claimants:   $2,960.00               Claims Discharged
                                                                  Without Payment:      $48,076.39


      Total Expenses of Administration:    $1,040.00




               3) Total gross receipts of $4,000.00 (see Exhibit 1), minus funds paid to the debtor and third parties
      of $0.00 (see Exhibit 2), yielded net receipts of $4,000.00 from the liquidation of the property of the estate,
      which was distributed as follows:




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                                                              CLAIMS          CLAIMS                            CLAIMS
                                             SCHEDULED             ASSERTED              ALLOWED                 PAID


   SECURED CLAIMS (from
   Exhibit 3)                                    $547,854.00                $0.00                $0.00                 $0.00
   PRIORITY CLAIMS:
   CHAPTER 7 ADMIN. FEES AND
   CHARGES (from Exhibit 4)
                                                       $0.00            $1,040.00            $1,040.00             $1,040.00


   PRIOR CHAPTER ADMIN.
   FEES AND CHARGES (from
   Exhibit 5)                                          $0.00                $0.00                $0.00                 $0.00

   PRIORITY UNSECURED CLAIMS
   (from Exhibit 6)                                    $0.00                $0.00                $0.00                 $0.00

   GENERAL UNSECURED CLAIMS
   (from Exhibit 7)                               $48,324.00           $49,881.39           $49,881.39             $2,960.00


   TOTAL DISBURSEMENTS                           $596,178.00           $50,921.39           $50,921.39             $4,000.00




                 4) This case was originally filed under chapter 7 on 02/16/2015. The case was pending for 10
      months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to the United States
      Trustee.

               6) An individual estate property record and report showing the final accounting of the assets of the estate is
      attached as Exhibit 8. The cash receipts and disbursements records for each estate bank account, showing the final
      accounting of the receipts and disbursements of estate funds is attached as Exhibit 9.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
      and correct.




      Dated:        01/12/2016                        By: /s/ Richard M. Fogel
                                                                            Trustee




      STATEMENT This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork
      Reduction Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                                    EXHIBITS TO
                                                                  FINAL ACCOUNT

EXHIBIT 1 – GROSS RECEIPTS

                                                                                              UNIFORM                              $ AMOUNT
     DESCRIPTION
                                                                                             TRAN. CODE1                           RECEIVED

 Income tax refund (u)                                                                          1224-000                              $4,000.00

                             TOTAL GROSS RECEIPTS                                                                                     $4,000.00

 1
  The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.




EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                                    UNIFORM                    $ AMOUNT
                 PAYEE                                      DESCRIPTION
                                                                                                   TRAN. CODE                     PAID

                                                                          None




EXHIBIT 3 - SECURED CLAIMS


                                             UNIFORM              CLAIMS
     Claim                                                                                 CLAIMS                   CLAIMS            CLAIMS
                   CLAIMANT                   TRAN.             SCHEDULED
      NO.                                                                                 ASSERTED                 ALLOWED             PAID
                                              CODE            (from Form 6D)


      N/F       Liberty Bank & Trust          4110-000              $130,000.00                        NA                NA                   NA
                Co.
      N/F       Bank of America               4110-000                $31,639.00                       NA                NA                   NA

      N/F       Illinois Service Federal      4110-000              $130,000.00                        NA                NA                   NA
                S&L Assoc.
      N/F       Liberty Bank & Trust          4110-000              $124,882.00                        NA                NA                   NA
                Co.
      N/F       The Loan Servicing            4110-000              $131,333.00                        NA                NA                   NA
                Center Customer
                Support Union

                   TOTAL SECURED                                    $547,854.00                     $0.00              $0.00              $0.00




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EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                    UNIFORM
                                                   CLAIMS              CLAIMS              CLAIMS              CLAIMS
   PAYEE                             TRAN.
                                                 SCHEDULED            ASSERTED            ALLOWED               PAID
                                     CODE

 Richard M. Fogel                    2100-000                NA             $1,000.00          $1,000.00        $1,000.00

 Rabobank, N.A.                      2600-000                NA               $40.00             $40.00             $40.00

 TOTAL CHAPTER 7 ADMIN. FEES
                                                           $0.00            $1,040.00          $1,040.00        $1,040.00
        AND CHARGES




EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                              UNIFORM         CLAIMS              CLAIMS              CLAIMS               CLAIMS
           PAYEE
                             TRAN. CODE     SCHEDULED            ASSERTED            ALLOWED                PAID

                                                         None




 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS


                                                                       CLAIMS
                                     UNIFORM        CLAIMS
                                                                      ASSERTED             CLAIMS              CLAIMS
 CLAIM NO.        CLAIMANT            TRAN.      SCHEDULED
                                                                   (from Proofs of        ALLOWED               PAID
                                      CODE      (from Form 6E)
                                                                        Claim)

     N/F      Henton Hurd            5800-000             $0.00                  NA                 NA                 NA


            TOTAL PRIORITY
           UNSECURED CLAIMS                               $0.00                $0.00              $0.00              $0.00




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 EXHIBIT 7 – GENERAL UNSECURED CLAIMS


                                                                         CLAIMS
                                        UNIFORM        CLAIMS
                                                                        ASSERTED         CLAIMS           CLAIMS
 CLAIM NO.     CLAIMANT                  TRAN.      SCHEDULED
                                                                     (from Proofs of    ALLOWED            PAID
                                         CODE      (from Form 6F)
                                                                          Claim)

     1        Discover Bank             7100-900        $16,963.00         $18,860.62    $18,860.62       $1,119.20
              Discover Products Inc

     2        Exeter Finance Corp.      7100-000        $28,524.00         $29,547.29    $29,547.29       $1,753.36


     3        Sprint Attn: Bankruptcy   7100-000           $546.00            $218.51      $218.51          $12.97
              Dept.

     4        PYOD, LLC its             7100-000         $1,136.00          $1,254.97     $1,254.97         $74.47
              successors and
              assigns as assignee of
              Citibank, N.A.
              Resurgent Capital
              Services

    N/F       Loyola University         7100-000           $175.00                NA            NA           $0.00
              Medical Center

    N/F       Commonwealth Edison       7100-000           $156.00                NA            NA           $0.00
              Bankruptcy
              Department

    N/F       Village of Maywood -      7100-000           $415.00                NA            NA           $0.00
              Water Dept.

    N/F       Commonwealth Edison       7100-000           $284.00                NA            NA           $0.00
              Bankruptcy
              Department

    N/F       West Suburban             7100-000           $125.00                NA            NA           $0.00
              Medical Center

            TOTAL GENERAL
           UNSECURED CLAIMS                             $48,324.00         $49,881.39    $49,881.39       $2,960.00




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                                                                                                                                                                                           Exhibit 8
                                                                                  Form 1
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                                                              Individual Estate Property Record and Report
                                                                               Asset Cases
Case No.:    15-04990                                                                                                           Trustee Name:      (330720) Richard M. Fogel
Case Name:     PROCTOR, TOYYA                                                                                                   Date Filed (f) or Converted (c): 02/16/2015 (f)
                                                                                                                                § 341(a) Meeting Date:     03/17/2015
For Period Ending:      01/12/2016                                                                                              Claims Bar Date: 08/20/2015

                                               1                                          2                            3                          4                      5                      6

                                       Asset Description                               Petition/               Estimated Net Value         Property Formally         Sale/Funds            Asset Fully
                            (Scheduled And Unscheduled (u) Property)                 Unscheduled          (Value Determined By Trustee,       Abandoned            Received by the      Administered (FA)/
                                                                                        Values               Less Liens, Exemptions,      OA=§554(a) abandon.          Estate            Gross Value of
                                                                                                                 and Other Costs)                                                       Remaining Assets

  Ref. #

   1*       Single Family Home 1930 S. 2nd Ave., Maywood, IL (See                        115,000.00                                0.00          OA                              0.00                        FA
            Footnote)

   2*       Two-Flat 646 N. Long Ave., Chicago, IL 60644 (See Footnote)                   88,000.00                                0.00          OA                              0.00                        FA

   3*       3 Unit 1443 S. Kedvale Ave., Chicago, IL 60623 (See Footnote)                120,000.00                                0.00          OA                              0.00                        FA

   4*       3 Unit 1514 S. Christiana Ave., Chicago, IL 6062 (See                        155,654.00                                0.00          OA                              0.00                        FA
            Footnote)

   5*       Checking Account Bank of America (See Footnote)                                   500.00                               0.00                                          0.00                        FA

   6*       Savings Account Bank of America (See Footnote)                                    300.00                               0.00                                          0.00                        FA

   7*       T.V., & Furniture (See Footnote)                                                  800.00                               0.00                                          0.00                        FA

   8*       Normal Apparel (See Footnote)                                                     500.00                               0.00                                          0.00                        FA

   9*       Life Insurance Policies Term Death Benefit Only (See Footnote)                         0.00                            0.00                                          0.00                        FA


   10*      ERISA Qualified 457 Deferred (See Footnote)                                       133.00                               0.00                                          0.00                        FA

   11*      ERISA Qualified Pension (See Footnote)                                                 0.00                            0.00                                          0.00                        FA

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                                                                 Individual Estate Property Record and Report
                                                                                  Asset Cases
Case No.:    15-04990                                                                                                              Trustee Name:      (330720) Richard M. Fogel
Case Name:      PROCTOR, TOYYA                                                                                                     Date Filed (f) or Converted (c): 02/16/2015 (f)
                                                                                                                                   § 341(a) Meeting Date:     03/17/2015
For Period Ending:       01/12/2016                                                                                                Claims Bar Date: 08/20/2015

                                                  1                                          2                            3                          4                      5                      6

                                          Asset Description                               Petition/               Estimated Net Value         Property Formally         Sale/Funds            Asset Fully
                               (Scheduled And Unscheduled (u) Property)                 Unscheduled          (Value Determined By Trustee,       Abandoned            Received by the      Administered (FA)/
                                                                                           Values               Less Liens, Exemptions,      OA=§554(a) abandon.          Estate            Gross Value of
                                                                                                                    and Other Costs)                                                       Remaining Assets

  Ref. #

   12*      Child Support (See Footnote)                                                         380.00                               0.00                                          0.00                        FA

   13       2014 Chevy Impala Xtra                                                           11,140.00                                0.00          OA                              0.00                        FA
            Abandoned per o/c 9-3-15

   14       Income tax refund (u) (u)                                                                 0.00                       4,000.00                                       4,000.00                        FA

            Assets             Totals       (Excluding unknown values)                    $492,407.00                          $4,000.00                                     $4,000.00                    $0.00



     RE PROP# 1           Inconsequential value. Abandoned per o/c 3-17-15.

     RE PROP# 2           Inconsequential value. Abandoned per o/c 3-17-15.

     RE PROP# 3           Inconsequential value. Abandoned per o/c 3-17-15.

     RE PROP# 4           Inconsequential value. Abandoned per o/c 3-17-15.

     RE PROP# 5           Exempt personal property

     RE PROP# 6           Exempt personal property

     RE PROP# 7           Exempt personal property

     RE PROP# 8           Exempt personal property

     RE PROP# 9           Inconsequential value

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                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case No.:    15-04990                                                                                   Trustee Name:      (330720) Richard M. Fogel
Case Name:     PROCTOR, TOYYA                                                                           Date Filed (f) or Converted (c): 02/16/2015 (f)
                                                                                                        § 341(a) Meeting Date:   03/17/2015
For Period Ending:      01/12/2016                                                                      Claims Bar Date: 08/20/2015
     RE PROP# 10        Exempt personal property

     RE PROP# 11        Exempt personal property

     RE PROP# 12        Exempt personal property



      Major Activities Affecting Case Closing:




      Initial Projected Date Of Final Report (TFR):      06/30/2016                     Current Projected Date Of Final Report (TFR):              10/05/2015




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                                                              Cash Receipts And Disbursements Record

Case No.:                       15-04990                                                               Trustee Name:                 Richard M. Fogel (330720)
Case Name:                      PROCTOR, TOYYA                                                         Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                  **-***8650                                                             Account #:                    ******3666 Checking Account
For Period Ending:              01/12/2016                                                             Blanket Bond (per case limit): $5,000,000.00
                                                                                                       Separate Bond (if applicable): N/A



        1                 2                          3                                            4                                         5                    6                     7

   Transaction       Check or              Paid To / Received From              Description of Transaction           Uniform          Deposit          Disbursement            Account Balance
      Date            Ref. #                                                                                        Tran. Code          $                    $

   05/20/2015            {14}       TOYYA PROCTOR                        Non-exempt portion of income tax refund    1224-000                4,000.00                                       4,000.00


   05/29/2015                       Rabobank, N.A.                       Bank and Technology Services Fee           2600-000                                         10.00                 3,990.00

   06/30/2015                       Rabobank, N.A.                       Bank and Technology Services Fee           2600-000                                         10.00                 3,980.00

   07/31/2015                       Rabobank, N.A.                       Bank and Technology Services Fees          2600-000                                         10.00                 3,970.00

   08/31/2015                       Rabobank, N.A.                       Bank and Technology Services Fees          2600-000                                         10.00                 3,960.00

   11/24/2015            101        Richard M. Fogel                     Trustee compensation                       2100-000                                     1,000.00                  2,960.00

   11/24/2015            102        Discover Bank Discover               Dividend on Claim #1- 5.9%                 7100-900                                     1,119.20                  1,840.80
                                    Products Inc
   11/24/2015            103        Exeter Finance Corp.                 Dividend on Claim #2- 5.9%                 7100-000                                     1,753.36                     87.44

   11/24/2015            104        Sprint Attn: Bankruptcy Dept.        Dividend on Claim #3- 5.9%                 7100-000                                         12.97                    74.47

   11/24/2015            105        PYOD, LLC its successors and         Dividend on Claim #4 - 5.9%                7100-000                                         74.47                     0.00
                                    assigns as assignee of Citibank,
                                    N.A. Resurgent Capital Services



{ } Asset Reference(s)          UST Form 101-7-TDR ( 10 /1/2010)                                                                                                 ! - transaction has not been cleared
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                                                           Cash Receipts And Disbursements Record

Case No.:                    15-04990                                                                   Trustee Name:                 Richard M. Fogel (330720)
Case Name:                   PROCTOR, TOYYA                                                             Bank Name:                    Rabobank, N.A.
Taxpayer ID #:               **-***8650                                                                 Account #:                    ******3666 Checking Account
For Period Ending:           01/12/2016                                                                 Blanket Bond (per case limit): $5,000,000.00
                                                                                                        Separate Bond (if applicable): N/A



        1                2                        3                                                 4                                        5                    6                      7

   Transaction       Check or           Paid To / Received From                Description of Transaction             Uniform          Deposit               Disbursement        Account Balance
      Date            Ref. #                                                                                         Tran. Code          $                         $

                                                                  COLUMN TOTALS                                                                   4,000.00            4,000.00                   $0.00
                                                                        Less: Bank Transfers/CDs                                                      0.00                0.00
                                                                  Subtotal                                                                        4,000.00            4,000.00
                                                                        Less: Payments to Debtors                                                                         0.00
                                                                  NET Receipts / Disbursements                                                   $4,000.00         $4,000.00




{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                                                                      ! - transaction has not been cleared
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                                                       Cash Receipts And Disbursements Record

Case No.:                  15-04990                                                      Trustee Name:                 Richard M. Fogel (330720)
Case Name:                 PROCTOR, TOYYA                                                Bank Name:                    Rabobank, N.A.
Taxpayer ID #:             **-***8650                                                    Account #:                    ******3666 Checking Account
For Period Ending:         01/12/2016                                                    Blanket Bond (per case limit): $5,000,000.00
                                                                                         Separate Bond (if applicable): N/A




                                                                 TOTAL - ALL ACCOUNTS                        NET DEPOSITS      NET DISBURSEMENTS ACCOUNT BALANCES
                                                                 ******3666 Checking Account                         $4,000.00            $4,000.00          $0.00
                                                                                                                        $4,000.00                  $4,000.00               $0.00




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